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                           Judicial Qualifications Commission
                                     State of Georgia
                                       P.O. Box 674374
                                      Marietta, GA 30006


                                         May 1, 2024

CONFIDENTIAL - TO BE OPENED
BY ADDRESSEE ONLY

VIA FEDEX OVERNIGHT (to candidate)

VIA E-MAIL (to attorney for candidate)

Mr. John J. Barrow
255 Milledge Heights
Athens, GA 30606


       Re: JQC Complaint No. 2024-216

Dear Mr. Barrow,

This correspondence serves as notice that the above-referenced Complaint has been initiated
against you according to Judicial Qualifications Commission ("JQC") Rule 17 (A). The
Complaint relates to the following:

       Your repeated statement/commentary that "[you're] running because we need Justices on
       the Georgia Supreme Court who will protect the right of women and their families to
       make the most personal family and healthcare decisions they'll ever make. Despite many
       fine qualities, it's obvious from his record that the incumbent, Justice Pinson, cannot be
       counted on to do that;" [campaign announcement; campaign website; campaign
       Facebook]

           o   This statement/commentary violates the following CJC provisions:
                   • Rule 1.2 (A) (failing to act in a manner that promotes public confidence in
                       the independence, integrity, and impartiality of the judiciary; see also
                       explanation provided below in reference to Rules 4.2 (A)(2) and (A)(3))
                   ■   Rule 4.2 (A)(2) (making statement that commits the candidate with respect
                       to issues likely to come before the court that are inconsistent with the
                       impartial performance of the adjudicative duties of judicial office)

                                                                                          EXHIBIT
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           •   Rule 4.2 (A)(3) (misleading statement regarding role of jurists, implying
               they should be counted on to "protect" selected rights, and suggesting
               that opponent cannot be counted on to do such ''protecting")

Your repeated statement/commentary that "[w]e can't expect Pinson to fight for our
interests now that he's been appointed to the only court that can stop what he helped
start." [campaign website, campaign Facebook]

    o This statement/commentary violates the following CJC provisions:
          • Rule 1.2 (A) (failing to act in a manner that promotes public confidence in
              the independence, integrity, and impartiality of the judiciary; see also
              explanation provided below in reference to Rule 4.2 (A)(3))
          • Rule 4.2 (A)(3) (misleading statements regarding role of jurists, implying
              that they should be expected to ''fight for" selected interests)

Your statement that "now I'm running for the Georgia Supreme Court to protect our
personal freedoms, including the freedom of women to make their own medical
decisions, like abortion, fertility, and birth control. Politicians shouldn't be making your
private medical decisions. Remember to vote in the Supreme Court race and I'll protect
your rights." [campaign commercial]

    o   This statement/commentary violates the following CJC provisions:
            • Rule 1.2 (A) (failing to act in a manner that promotes public confidence in
                the independence, integrity, and impartiality of the judiciary,· see also
                explanations provided below in reference to Rules 2.10 (B), 4.2 (A)(2),
                and (A)(3))
            • Rule 2.10 (B) (making promises or commitments that are inconsistent with
                the impartial performance of the adjudicative duties of judicial office in
                connection with cases, controversies, or issues that are likely to come
                before the court)
            • Rule 4.2 (A)(2) (making statements that commit the candidate with respect
                to issues likely to come before the court that are inconsistent with the
                impartial performance of the adjudicative duties of judicial office)
            • Rule 4.2 (A)(3) (misleading statement regarding what your role of a jurist
                would be, suggesting that you will "protect" select rights)

Your statement/commentary that "Georgians have a state constitutional right to abortion
and [... ] voters would boost their chances of restoring broader access to abortion by
doing something they've never done before: defeating an incumbent state justice."
[published by the Daily Report on April 29, 2024]

    o   This statement/commentary violates the following CJC provisions:
            • Rule 1.2 (A) (failing to act in a manner that promotes public confidence in
                the independence, integrity, and impartiality of the judiciary,· see also
                explanations provided below in reference to Rules 2.10 (B), 4.2 (A)(2) and
                (A)(3))




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           ■       Rule 2.10 (B) (making promises or commitments that are inconsistent with
                   the impartial performance of the adjudicative duties ofjudicial office in
                   connection with cases, controversies, or issues that are likely to come
                   before the court)
           ■       Rule 4.2 (A)(2) (making statements that commit the candidate with respect
                   to issues likely to come before the court that are inconsistent with the
                   impartial performance of the adjudicative duties of judicial office)
           ■       Rule 4.2 (A)(3) (false statement regarding the current status of Georgia
                   law)

Your statement/commentary that "I happen to believe that the Georgia Constitution does
provide a right of privacy, and that encompasses everything that we associate with what
was the law under Roe v. Wade. And then it's probably wider[ ... ] that would mean the
current statute, the current ban we're living with right now, violates that provision of the
Constitution." [published by the Daily Report on April 19, 2024]

    o This statement and/or any similar commentary violates the following CJC
      prov1s1ons:
          ■   Rule 1.2 (A) (failing to act in a manner that promotes public confidence in
              the independence, integrity, and impartiality of the judiciary; see also
              explanation provided below in reference to Rule 4.2 (A)(3))
          ■   Rule 4.2 (A)(3) (false statement regarding the current status of Georgia
              law)

Your statement, "Vote John Barrow for Georgia Supreme Court to keep the rights of
healthcare decisions in the hands of women and families!" [campaign Face book]

    o This statement violates the following CJC provisions:

            ■      Rule 1.2 (A) (failing to act in a manner that promotes public confidence in
                   the independence, integrity, and impartiality of the judiciary; see also
                   explanation provided below in reference to Rule 4.2 (A)(2) and (A)(3))
            ■      Rule 4.2 (A)(2) (making statements that commit the candidate with respect
                   to issues likely to come before the court that are inconsistent with the
                   impartial performance of the adjudicative duties of judicial office)
            ■      Rule 4.2 (A)(3) (misleading, suggesting a successful candidacy would
                   result in "keep[ing] the rights of healthcare decisions in the hands of
                   women and families!'')

A post depicting a graphic stating, "Georgia cannot be the first state to lose a special
election around reproductive rights! Vote for John Barrow for Georgia Supreme Court."
[campaign Facebook]

    o This post violates the following CJC provisions:

               ■   Rule 1.2 (A) (failing to act in a manner that promotes public confidence in
                   the independence, integrity, and impartiality of the judiciary; see also
                   explanation provided below for Rule 4.2 (A)(3))


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                    •   Rule 4.2 (A)(3) (false statement, this election is not "a special election
                        around reproductive rights")

Please be advised that the Director and Special Committee on Judicial Election Campaign
Intervention ("Special Committee") are aware of the United States Supreme Court's decision in
Republican Party v. White, which found that the Minnesota Supreme Court's canon of judicial
conduct prohibiting candidates from announcing their views on disputed legal and political
issues violated the First Amendment. The concern regarding the above campaign conduct is not
that you have stated your views on disputed legal and/or political issues - it is that you have 1)
emphatically stated your views on highly sensitive disputed legal and/or political issues (which
differ from the current state of Georgia law) without also emphasizing the duty of a judge to
uphold the Constitution and laws of Georgia; See Code, Rule 4.2 (A), Cmt. 1; 2)
mischaracterized the role of a jurist as someone who should (or would, in your case) "protect"
selected rights, which is misleading; 3) made pledges/promises/commitments related to highly
sensitive cases/controversies/issues which are likely to come before the Georgia Supreme Court; 1
4) made misrepresentations about the current state of the law in Georgia; and 5) created the false
impression that if elected, your singular vote would or could result in a change in the law related
to abortion in Georgia, all in violation of the Code. 2

Pursuant to JQC Rule 29 (B), the Special Committee requests that you provide a written response
to this correspondence on or before Monday, May 6, 2024 at 5 :00pm. The Special Committee
further requests that you immediately bring all campaign-related materials, information, and
advertisements into compliance with the Code and any applicable JQC formal advisory opinions.
This request includes but is not limited to your spoken and written statements/commentary;
spoken or written statements/commentary of your campaign committee and any others acting at
your direction; your campaign website; any and all social media accounts being utilized to
publish/share campaign materials, information, and advertisements which are controlled by you,
your campaign committee, and any others acting at your direction; flyers; mailers; signs;
banners; commercials; robocalls; and robotexts.

Your written response should include what action, if any, you have taken to address the Code
violations outlined above. Upon receipt of your response, the Special Committee will determine
how to proceed according to JQC Rule 29 (B). Please be advised that the proceedings of the
Special Committee are confidential, unless or until an exception pursuant to JQC Rules 11 (E) or
29 (B) becomes applicable.


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  Rule 2.11 (A)(S) of the Code, which governs judicial disqualification and recusal, provides that
"[j]udges shall disqualify themselves in any proceeding in which their impartiality might reasonably be
questioned, or in which the judge has made pledges or promises of conduct in office other than the
faithful and impartial performance of the adjudicative duties of the office, or statements that commit the
judicial candidate with respect to issues likely to come before the court in its adjudication of cases."
2
  Importantly, the Code reminds us that "[e]ven when subject to public election, a judge plays a role
different from that of a legislator or executive branch official. Rather than making decisions based upon
the expressed views or preferences of the electorate, a judge makes decisions based upon the law and the
facts of every case. Therefore, in furtherance of this interest, judges and judicial candidates must, to the
greatest extent possible, be free and appear to be free from political influence and political pressure. The
Canon imposes narrowly tailored restrictions upon the political and campaign activities of all judges and
judicial candidates, taking into account the various methods of selecting judges."

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                                                        Courtney Veal
                                                        Director
                                                        Judicial Qualifications Commission


Cc:   Mr. Lester Tate - Attorney for Mr. Barrow
      Special Committee on Judicial Election Campaign Intervention




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